Case 6:00-cr-00075-ACC-DCI Document 102 Filed 06/26/08 Page 1 of 2 PageID 324




                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
   UNITED STATES OF AMERICA

   -vs-                                                          Case No. 6:00-cr-75-Orl-22

   JOSE FIGUEROA
   __________________________________

                                                 ORDER

          This cause comes before the Court for consideration of Defendant’s Motion for Modification

   of Sentence (Doc. 93), to which the Government has responded (Doc. 101). Jurisdiction to grant a

   sentence reduction in this case is derived from Title 18, United States Code, section 3582, which

   provides, in part:

          [I]n the case of a defendant who has been sentenced to a term of imprisonment based
          on a sentencing range that has subsequently been lowered by the Sentencing
          Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
          Director of the Bureau of Prisons, or on its own motion, the court may reduce the term
          of imprisonment, after considering the factors set forth in section 3553(a) to the extent
          that they are applicable, if such a reduction is consistent with applicable policy
          statements issued by the Sentencing Commission.

   18 U.S.C. § 3582(c)(2).

          Defendant seeks a reduction in his sentence by operation of Amendment 599 to the United

   States Sentencing Guidelines.1 Amendment 599 altered USSG §2K2.4, the Guideline applicable to

   use of a firearm, armor-piercing ammunition or explosive during the commission of certain other

   crimes. In relevant part, the amendment limited the circumstances under which courts could apply

   Guidelines weapons enhancements to Defendants separately convicted under 18 U.S.C. § 924(c),


          1
            Amendment 599 is a retroactive amendment that became effective on November 1, 2000,
   less than two weeks after Defendant was sentenced.
Case 6:00-cr-00075-ACC-DCI Document 102 Filed 06/26/08 Page 2 of 2 PageID 325




   which imposes penalties for using or carrying a firearm during and in relation to any crime of

   violence or drug trafficking crime.

          Defendant was convicted of one count of conspiracy to possess with intent to distribute heroin

   and cocaine hydrochloride and one count of possession with intent to distribute heroin. See Doc. 48.

   At sentencing, Defendant received a two-level enhancement under USSG §2D1.1 for possession of

   a dangerous weapon. Notably, Defendant was not convicted of a separate firearms offense under 18

   U.S.C. § 924(c), nor was his sentence based in any part on USSG §2K2.4. This fact renders the

   Guidelines changes effected by Amendment 599 inapplicable to Defendant’s case. Therefore, because

   Defendant’s sentencing range was not subsequently lowered by Amendment 599, the Court does not

   have jurisdiction to grant his present request for a sentence reduction under 18 U.S.C. § 3582(c)(2).

          Based on the foregoing, it is ORDERED that Defendant’s Motion for Modification of

   Sentence (Doc. 93) is DENIED.

          DONE and ORDERED in Chambers, Orlando, Florida on June 26, 2008.



   Copies furnished to:

   Counsel of Record
   Jose Figueroa




                                                    -2-
